Case 3:21-cr-00077   Document 11   Filed 03/22/21   Page 1 of 5 PageID #: 27
                          AFFIDAVIT OF TIFFANY MAYO
                           Homeland Security Investigations


I, Tiffany Mayo, being duly sworn, do depose and state as follows:

1.    I am a Special Agent (SA) of the United States Department of Homeland Security,
      Homeland Security Investigations (HSI), and I am assigned to the Office of the
      Special Agent in Charge in Nashville, Tennessee. I have been employed as a
      Special Agent of the U.S. Department of Homeland Security since 2013.

2.    This affidavit is submitted in support of a Criminal Complaint for the arrest of
      AUSTIN KIDD, for Possession of Child Pornography, in violation of 18 U.S.C. §
      2252A(a)(5)(B): on or about November 17, 2020, in the Middle District of
      Tennessee, Austin Kidd did knowingly possess any material that contains an
      image of child pornography, as defined in Title 18, United States Code, Section
      2256(8)(A), and involving a minor under the age of twelve, that had been shipped
      and transported using any means and facility of interstate and foreign commerce
      or in or affecting interstate or foreign commerce by any means, including by
      computer, or that was produced using materials that have been mailed, or
      transported in or affecting interstate or foreign commerce by any means, including
      by computer.

3.    The following information contained in this affidavit is based on my training and
      experience, my personal participation in this investigation, and information provided
      to me by other law enforcement officials. Unless otherwise indicated, where I have
      referred to written or oral statements, I have summarized them in substance and in
      part, rather than verbatim. Not all of the facts of the investigation known to me are
      contained herein, only those necessary to establish probable cause for the arrest of
      AUSTIN KIDD.

4.    In August 2019, a foreign law enforcement agency (referenced herein as “FLA”)
      notified the Federal Bureau of Investigation that FLA determined that on April 21,
      2019 at 16:41:24 UTC, IP address 45.21.2.65 “was used to access online child sexual
      abuse and exploitation material” via a website that is known to FLA and continues to
      be the subject of investigation. The website is not named in this affidavit in order to
      prevent compromising ongoing investigations.

5.    FLA identified the website by name and described the website as having “an explicit
      focus on the facilitation of sharing child abuse material (images, links and videos),
      emphasis on indecent material of boys” and stated that “[u]sers were able to view some
      material without creating an account. However, an account was required to post and
      access all content.”
                                             1




Case 3:21-cr-00077        Document 11       Filed 03/22/21      Page 2 of 5 PageID #: 28
6.    According to publicly available information, IP address 45.21.2.65, which was used
      to access the website on April 21, 2019, was registered to AT&T.

7.    On or about September 9, 2019, AT&T produced records in response to a subpoena
      indicating the IP address had been assigned to AUSTIN KIDD with a service address
      of 7770 Pipers Lane, Apt. 17208, San Antonio, TX, on April 21, 2019, at the specified
      time requested. The account had been closed since then.

8.    A query of publicly available databases for the property at 7770 Pipers Lane, Apt.
      17208, San Antonio, TX 78251, revealed that on April 21, 2019, this residence had
      been occupied by AUSTIN KIDD. Open Source and law enforcement databases
      indicated AUSTIN KIDD now resided at 690 Hickory Point Road, Clarksville, TN.
      Additional social media information identified that AUSTIN KIDD moved from his
      April 21, 2019, address of 7770 Pipers Lane. Apt. 17208, San Antonio, TX, on or
      about May 5, 2019.

9.    In March 2020, Homeland Security Investigations in Nashville ("HSI Nashville")
      received an investigative referral from Homeland Security Investigations in Boston,
      MA pertaining to AUSTIN KIDD and his suspected internet activity on or about April
      17, 2019.

10.   Through open source research, SAs identified Facebook account:
      “ShadowPhoenix24” as belonging to AUSTIN KIDD. In an effort to verify the
      physical location of AUSTIN KIDD, SA Mayo submitted a summons requesting the
      login/logoff records associated with his account. On June 5, 2020, Facebook, Inc.
      (“Facebook”) produced records in response to the summons, providing multiple IP
      addresses associated with the login/logout records of Facebook account:
      “ShadowPhoenix24.” Facebook, Inc. also identified the name on the account as being
      AUSTIN KIDD. According to publicly available information, the IP addresses
      provided by Facebook, were owned/operated by Charter Communications.

11.   On June 10, 2020, Charter Communications produced records in response to a
      summons indicating that the above referenced IP addresses provided by Facebook,
      were associated with 690 Hickory Point Rd, Clarksville, TN, at the specified date and
      times requested.

12.   On July 7, 2020, the U.S. District Court for the Middle District of Tennessee
      authorized the installation and use of a pen register/trap and trace device (PRTT) to
      record, decode, and/or capture all dialing, routing, addressing, and signaling
      information associated with each communication to or from the residential internet
      service account associated with 690 Hickory Point Rd. Clarksville, TN.


                                            2




Case 3:21-cr-00077       Document 11       Filed 03/22/21     Page 3 of 5 PageID #: 29
13.   Analysis of the data provided pursuant to that PRTT order revealed evidence that a
      user of the internet at the SUBJECT PREMISES accessed the TOR network from July
      13, 2020, through July 30, 2020.

14.   On November 3, 2020, I obtained a federal search warrant (Case #20-mj-2616) to
      search the residence at 690 Hickory Point Rd. in Clarksville, Tennessee. On
      November 17, 2020, HSI Nashville executed the federal search warrant, and
      AUSTIN KIDD was present at the time. Subsequently, HSI Supervisory Special
      Agent Jim Cole and I interviewed AUSTIN KIDD, who stated that he accessed
      the Dark Web/TOR network and viewed child sexual abuse material (CSAM).
      AUSTIN KIDD stated that his material of interest was of boys, approximately
      (11) years of age. AUSTIN KIDD further stated that any images he downloaded
      and/or possessed were located in his “MEGA.nz” cloud service account.

15.   AUSTIN KIDD provided consent to HSI Nashville Special Agents (SAs), along with
      his username and password, to access his MEGA.nz account. I subsequently accessed
      AUSTIN KIDD’s MEGA.nz account via his Motorola Moto G7, cellular telephone
      (seized during the course of the search warrant), and identified, in a folder labeled
      “private,” hundreds of suspected CSAM and child erotica images.

16.   On November 17, 2020, AUSTIN KIDD also provided consent to HSI Nashville SAs
      to search his apartment located at 830 Peachers Mill Rd., Apartment D59, Clarksville,
      TN. AUSTIN KIDD stated that he and his girlfriend, J.R., resided at both this
      apartment and his parents’ residence at 690 Hickory Point Rd. HSI Nashville seized a
      computer CPU tower, external hard drive, internal hard drive, thumb drive, and two
      CD-R media storage devices. These remaining items are still under review and
      pending forensic examination.

17.   MEGA.nz is owned and operated in New Zealand. MEGA.nz has a law enforcement
      portal where law enforcement officials outside of New Zealand can notify MEGA.nz
      of an account violating their policies (i.e., storing CSAM). MEGA.nz then verifies the
      violation, suspends the account, and provides all content to the requesting law
      enforcement party.

18.   On December 13, 2020, following a request by HSI Nashville, MEGA.nz provided all
      content stored and associated with the MEGA.nz account, identified as belonging to
      AUSTIN KIDD. The name: AUSTIN KIDD and email address:
      adkidd93@gmail.com were listed on the account. Approximately 260 suspected
      CSAM files, to include images and videos, were found stored on the account. Below
      are descriptions of two of the files discovered:

       1.     MBA Blonde French boy 12.jpg – Is an image of a prepubescent male child

                                            3




Case 3:21-cr-00077       Document 11       Filed 03/22/21      Page 4 of 5 PageID #: 30
Case 3:21-cr-00077   Document 11   Filed 03/22/21   Page 5 of 5 PageID #: 31
